           Case 8-24-71468-las      Doc 75     Filed 09/03/24     Entered 09/03/24 08:45:21




  September 3, 2024


  Via ECF
  Honorable Louis A. Scarcella
  U.S. Bankruptcy Court, Eastern District of N.Y.
  Alfonse M. D’Amato U.S. Courthouse
  290 Federal Plaza
  Central Islip, NY 11722


  Re:       In re Benjamin O. Ringel (the “Debtor”)
            Case No. 24-71468 (LAS)
            Letter Confirming Adjournment


  Dear Judge Scarcella:

  Our office serves as counsel to the debtor Benjamin O. Ringel (the “Debtor”) in the above chapter 7
  proceeding.

  Please allow this correspondence to confirm that the Debtor’s motion seeking to convert this
  proceeding to one under chapter 11 (Dkt 37) has been adjourned from September 10, 2024, to
  September 24, 2024 at 10:00 a.m.

  Thank you for Your Honor’s attention to this matter, and please feel free to contact our office with
  any questions or concerns.

  Best Regards,
  THE FRANK LAW FIRM P.C.
  /s/Thomas J. Frank
  Thomas J. Frank
  For the Firm


  cc:       All appearing parties (via ECF)




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